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                              UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF MAINE


 In the matter of:
                                                               Chapter 13
 Charles Pappas,                                               Case No. 18-20179

                           Debtor



                  TRUSTEE’S OBJECTION TO CONFIRMATION OF PLAN

         NOW COMES the Standing Chapter 13 Trustee, Andrew M. Dudley, by and through his
undersigned staff attorney, and objects to confirmation of the plan (docket # 4), as follows:

1.       The Debtor is current on his payments to the Trustee.

2.       To assist his investigation of the Debtor’s financial affairs, the Trustee requests the following
         from the Debtor within the next 14 days (on or before May 23, 2018):

             a. Copies of the statements for all of the Debtor’s bank and other financial accounts
                 showing the balances of the accounts as of the date the case was filed (April 3, 2018);

             b. That the Debtor update his mailing address on the docket; and

             c. Copies of the Debtor’s two most-recent payroll advices from all jobs.

         The Trustee’s requests are relevant to whether the plan has been proposed in good faith, satisfies
         the liquidation test, is feasible, and provides for the Debtor to contribute his projected disposable
         income as required by 11 U.S.C. §§ 1325(a)(3), 1325(a)(4), 1325(a)(6) and 1325(b). Therefore, the
         Trustee objects to confirmation on the basis of those Code sections.

3.       Section 4.3 of the plan estimates the Debtor’s attorney fees and expenses at $8,000. Given the
         overall simple nature of the case, $8,000 appears more than necessary. It should not be approved
         unless Debtor satisfactorily explains why that amount is a reasonable estimate. The Debtor could
         increase the term of his plan beyond 36 months if necessary.

4.       Section 3.2 of the plan provides for the Trustee to pay a $1,355 secured claim of the IRS. Section
         4.4 anticipates no priority claims. The Internal Revenue Service has filed a $39,955.16 claim as
         follows: $1,355 secured, $4,884.51 priority and $33,715.65 general unsecured. Section 4.1
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         provides for the Trustee to pay allowed priority claims in full. So, unless the Debtor objects to
         the IRS’s claim, he should add sufficient funds to cover any allowed priority claim of the IRS.

5.       Before the plan is confirmed, the Debtor should certify either that he is current on all postpetition
         domestic support payments as required by 11 U.S.C. § 1325(a)(8) or that he has no domestic
         support obligations. This includes any obligations that might have started since the case was filed.
         The certification should be filed with the Court.

6.       Before the plan is confirmed, the Debtor should certify that he has filed all applicable Federal,
         State, and local tax returns as required by 11 U.S.C. § 1308. The filing of the returns is a
         prerequisite for confirmation under 11 U.S.C. § 1325(a)(9). The certification should be filed with
         the Court.

7.       REMINDER TO DEBTOR(S)/DEBTOR(S) COUNSEL: A letter addressing all issues as they
         are listed in the Trustee’s Objection must accompany any submission of documents or revised
         proposed order confirming the plan. In addition, all documents (tax returns, paystubs, bank
         statements, etc.) submitted to the Trustee must be appropriately redacted by Debtor(s) and/or
         counsel.

         WHEREFORE, the Trustee respectfully requests that this Court deny confirmation of the plan
in its current form, together with such other relief as this Court finds just and reasonable.


                                                             Respectfully Submitted:

Date: May 9, 2018                                            /s/ William H. Sandstead
                                                             ________________________________
                                                             WILLIAM H. SANDSTEAD
                                                             ANDREW M. DUDLEY, Trustee
                                                             Standing Chapter 13 Trustee
                                                             Post Office Box 429
                                                             Brunswick, Maine 04011-0429
                                                             (207) 725-1300
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                                         CERTIFICATE OF SERVICE
                                       FOR ELECTRONIC CASE FILING

      I, William Sandstead, hereby certify that I caused a true and correct copy of the following
document(s) to be served today on the parties listed below as follows:

Document(s) Served: Trustee’s objection, filed herewith

Service electronically via the Court’s ECF system to:

Jeffrey White, Esq., Debtor’s Counsel
Stephen Morrell, Esq., Assistant U.S. Trustee
All other parties listed on N.E.F. as being served electronically.

Service by U.S. first class mail, postage prepaid, to:

Charles Pappas
66 Medawisla Rd.
Roxbury, ME 04275

                                                                     Signed:

Date: May 9, 2018                                                    /s/ William H. Sandstead
                                                                     _________________________________
                                                                     WILLIAM H. SANDSTEAD
